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                                   2084
                                       MINUTES



 CASE NUMBER:            CV 16-00347LEK-RLP
 CASE NAME:              Atooi Aloha, LLC, et al., v. Abner Gaurinol, et al.,


       JUDGE:     Richard L. Puglisi

       DATE:      February 9, 2018


COURT ACTION: EO           Per the Court's order granting the Gaurino Defendants' First
                           Motion to Continue Trial and Amend Rule 16 Pretrial Order,
                           Second Amended Rule 16 Scheduling Order to be issued.

1.     Jury trial on October 16, 2018 at 9:00 a.m. before JMS
2.     Final Pretrial Conference on September 5, 2018 at 9:00 a.m. before RLP
3.     Final Pretrial Conference before District Judge N/A
4.     Final Pretrial Statement by August 28, 2018
5.     File motions to Join/Add Parties/Amend Pleadings by March 16, 2018
6.     File other Non-Dispositive Motions by July 18, 2018
7.     File Dispositive Motions by May 16, 2018
8a.    File Motions in Limine by September 25, 2018
8b.    File opposition memo to a Motion in Limine by October 2, 2018
11a.   Plaintiff’s Expert Witness Disclosures by April 16, 2018
11b.   Defendant’s Expert Witness Disclosures by May 16, 2018
12.    Discovery deadline August 17, 2018
13.    Settlement Conference set for July 16, 2018 at 10:00 a.m. before RLP
14.    Settlement Conference statements by July 9, 2018
20.    Submit Voir Dire Questions, Special Verdict Form, Concise Statement of Case and
       Jury Instructions by October 2, 2018
21.    File Final witness list by September 25, 2018
24.    Exchange Exhibit and Demonstrative aids by September 18, 2018
25.    Stipulations re: Authenticity/Admissibility of Proposed Exhibits by September 25,
       2018
26.    File objections to the Exhibits by October 2, 2018
28a.   File Deposition Excerpt Designations by September 25, 2018
28b.   File Deposition Counter Designations and Objections by October 2, 2018
29.    File Trial Brief by October 2, 2018
30.    File Findings of Fact & Conclusions of Law by N/A
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Other Matters: None


                      Submitted by: Mary Feria, Courtroom Manager




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Rule 16 Scheduling Conference Minutes
02/09/2018
